    Case 21-02391 Doc 51-2 Filed 07/15/22 Entered 07/15/22 10:08:13                             Desc
              Statement Accompanying Relief From Stay Page 1 of 1


                                    REQUIRED STATEMENT
                          TO ACCOMPANY MOTIONS FOR RELIEF FROM STAY

All Cases: Debtor(s) RaShawn Jackson                                  Case No. 21-02391 Chapter 13
All Cases: Moving Creditor PNC Bank, National Association             Date Case Filed 02/24/2021
Nature of Relief Sought: Lift Stay               Annul Stay     Other (describe) ____________________
Chapter 13:       Date of Confirmation Hearing                or Date Plan Confirmed 06/03/2021
Chapter 7:               No-Asset Report Filed on ______________________
                         No-Asset Report not Filed, Date of Creditors Meeting ______________________
1.      Collateral
        a.               Home
        b.               Car Year, Make, and Model ___________________________________________
        c.               Other (describe) _ ___________________________________________________
2.      Balance Owed as of Petition Date $194,055.95
        Total of all other Liens against Collateral $0.00
3.      In chapter 13 cases, if a post-petition default is asserted in the motion, attach a payment history
        listing the amounts and dates of all payments received from the debtor(s) post-petition.
4.      Estimated Value of Collateral (must be supplied in all cases) $211,166.66 (per Schedule A/B)
5.      Default
        a.              Pre-Petition Default
                  Number of months _____                      Amount $ ___________
        b.              Post-Petition Default
                  i.            On direct payments to the moving creditor
                             Number of Months 3 Amount $4,946.69
                  ii.           On payments to the Standing Chapter 13 Trustee
                             Number of months _____                   Amount $ ___________
6.      Other Allegations
        a.              Lack of Adequate Protection § 362(d)(1)
                  i.            No insurance
                  ii.           Taxes unpaid          Amount $
                  iii.          Rapidly depreciating asset
                  iv.           Other (describe) _____________________________________________
        b.              No Equity and not Necessary for an Effective Reorganization § 362(d)(2)
        c.              Other “cause” § 362(d)(1)
                  i.            Bad Faith (describe) __________________________________________
                  ii.           Multiple Filings
                  iii.          Other (describe) _____________________________________________
        d.        Debtor’s Statement of Intention regarding the Collateral
                     i.      Reaffirm           Redeem          Surrender        No Statement of Intention
                                                                              Filed

Date: __07/15/2022_______________                        /s/ Nisha B. Parikh
                                                         Counsel for Movant
